        Case No. 1:23-cv-03258-RMR Document 30 filed 12/15/23 USDC Colorado pg 1 of 12




                                 UNITED STATES DISTRICT COURT
                                                               for the
                                                    District
                                              __________     of Colorado
                                                         District of __________

Gunnison County Stockgrowers' Association, Inc., a               )
   Colorado Nonprofit Corporation; and                           )
Colorado Cattlemen's Association, a Colorado Nonprofit           )
   Corporation.                                                  )
                                                                 )
                        Plaintiff(s)                                     Civil Action No. 23-cv-3258-RMR
                            v.                                   )
                                                                 )
United States Fish and Wildlife Service;                         )
Martha Williams, in her official capacity as Director of         )
    the U.S. Fish and Wildlife Service;                          )
Colorado Division of Parks and Wildlife;
Jeff Davis, in his official capacity as Director of Colorado
                                                                 )
    Parks and Wildlife;                                          )
Eric Odell, in his official capacity as Wolf Conservation        )
    Program Manager for Colorado Division of Parks and           )
    Wildlife; and                                                )
Colorado Parks and Wildlife Commission                           )
                        Defendant(s)                             )


                                              SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                 United States Fish and Wildlife Service;
                 1849 C St NW, Washington, DC 20240
         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name
and address are:
                 Deborah L. Freeman, Michael A. Kopp, Luke O'Brien, Trout Raley P.C., 1120 Lincoln St.,
                 Suite 1600, Denver, CO 80203, for Gunnison County Stockgrowers' Association

                 James W. Sanderson, Anthony M. Roeber, Welborn Sullivan Meck & Tooley P.C. 1401
                 Lawrence Street, Suite 1800, Denver, CO 80202, for Colorado Cattlemen's Association

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                           CLERK OF COURT

             12/15/2023                                                         s/ J. Roberts
Date:
                                                                                      Signature of Clerk or Deputy Clerk
        Case No. 1:23-cv-03258-RMR Document 30 filed 12/15/23 USDC Colorado pg 2 of 12




Civil Action No. 23-cv-3258

                                                  PROOF OF SERVICE
                  (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

         This summons for (name of individual and title, if any)
was received by me on (date)                                       .

         ‫ ٲ‬I personally served the summons on the individual at (place)
                                                                      on (date)                               ; or

         ‫ ٲ‬I left the summons at the individual’s residence or usual place of abode with (name)
                                                       , a person of suitable age and discretion who resides there,
         on (date)                          , and mailed a copy to the individual’s last known address; or

         ‫ ٲ‬I served the summons on (name of individual)                                                                , who is
          designated by law to accept service of process on behalf of (name of organization)
                                                                          on (date)                           ; or

         ‫ ٲ‬I returned the summons unexecuted because                                                                        ; or

         ‫ ٲ‬Other (specify):
                                                                                                                                       .


         My fees are $                      for travel and $                 for services, for a total of $          0.00          .



         I declare under penalty of perjury that this information is true.


Date:
                                                                                      Server’s signature



                                                                                  Printed name and title




                                                                                      Server’s address

Additional information regarding attempted service, etc:
        Case No. 1:23-cv-03258-RMR Document 30 filed 12/15/23 USDC Colorado pg 3 of 12




                                 UNITED STATES DISTRICT COURT
                                                               for the
                                                    District
                                              __________     of Colorado
                                                         District of __________

Gunnison County Stockgrowers' Association, Inc., a               )
   Colorado Nonprofit Corporation; and                           )
Colorado Cattlemen's Association, a Colorado Nonprofit           )
   Corporation.                                                  )
                                                                 )
                        Plaintiff(s)                                     Civil Action No. 23-cv-3258-RMR
                            v.                                   )
                                                                 )
United States Fish and Wildlife Service;                         )
Martha Williams, in her official capacity as Director of         )
    the U.S. Fish and Wildlife Service;                          )
Colorado Division of Parks and Wildlife;
Jeff Davis, in his official capacity as Director of Colorado
                                                                 )
    Parks and Wildlife;                                          )
Eric Odell, in his official capacity as Wolf Conservation        )
    Program Manager for Colorado Division of Parks and           )
    Wildlife; and                                                )
Colorado Parks and Wildlife Commission                           )
                        Defendant(s)                             )


                                              SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                 Martha Williams, in her official capacity as Director of the U.S. Fish and Wildlife Service;
                 1849 C St NW, Washington, DC 20240
         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name
and address are:
                 Deborah L. Freeman, Michael A. Kopp, Luke O'Brien, Trout Raley P.C., 1120 Lincoln St.,
                 Suite 1600, Denver, CO 80203, for Gunnison County Stockgrowers' Association

                 James W. Sanderson, Anthony M. Roeber, Welborn Sullivan Meck & Tooley P.C. 1401
                 Lawrence Street, Suite 1800, Denver, CO 80202, for Colorado Cattlemen's Association

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                           CLERK OF COURT

             12/15/2023                                                           s/ J. Roberts
Date:
                                                                                      Signature of Clerk or Deputy Clerk
        Case No. 1:23-cv-03258-RMR Document 30 filed 12/15/23 USDC Colorado pg 4 of 12




Civil Action No. 23-cv-3258

                                                  PROOF OF SERVICE
                  (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

         This summons for (name of individual and title, if any)
was received by me on (date)                                       .

         ‫ ٲ‬I personally served the summons on the individual at (place)
                                                                      on (date)                               ; or

         ‫ ٲ‬I left the summons at the individual’s residence or usual place of abode with (name)
                                                       , a person of suitable age and discretion who resides there,
         on (date)                          , and mailed a copy to the individual’s last known address; or

         ‫ ٲ‬I served the summons on (name of individual)                                                                , who is
          designated by law to accept service of process on behalf of (name of organization)
                                                                          on (date)                           ; or

         ‫ ٲ‬I returned the summons unexecuted because                                                                        ; or

         ‫ ٲ‬Other (specify):
                                                                                                                                       .


         My fees are $                      for travel and $                 for services, for a total of $          0.00          .



         I declare under penalty of perjury that this information is true.


Date:
                                                                                      Server’s signature



                                                                                  Printed name and title




                                                                                      Server’s address

Additional information regarding attempted service, etc:
        Case No. 1:23-cv-03258-RMR Document 30 filed 12/15/23 USDC Colorado pg 5 of 12




                                 UNITED STATES DISTRICT COURT
                                                               for the
                                                    District
                                              __________     of Colorado
                                                         District of __________

Gunnison County Stockgrowers' Association, Inc., a               )
   Colorado Nonprofit Corporation; and                           )
Colorado Cattlemen's Association, a Colorado Nonprofit           )
   Corporation.                                                  )
                                                                 )
                        Plaintiff(s)                                     Civil Action No. 23-cv-3258-RMR
                            v.                                   )
                                                                 )
United States Fish and Wildlife Service;                         )
Martha Williams, in her official capacity as Director of         )
    the U.S. Fish and Wildlife Service;                          )
Colorado Division of Parks and Wildlife;
Jeff Davis, in his official capacity as Director of Colorado
                                                                 )
    Parks and Wildlife;                                          )
Eric Odell, in his official capacity as Wolf Conservation        )
    Program Manager for Colorado Division of Parks and           )
    Wildlife; and                                                )
Colorado Parks and Wildlife Commission                           )
                        Defendant(s)                             )


                                              SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                 Colorado Division of Parks and Wildlife.
                 6060 Broadway, Denver, CO 80216
         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name
and address are:
                 Deborah L. Freeman, Michael A. Kopp, Luke O'Brien, Trout Raley P.C., 1120 Lincoln St.,
                 Suite 1600, Denver, CO 80203, for Gunnison County Stockgrowers' Association

                 James W. Sanderson, Anthony M. Roeber, Welborn Sullivan Meck & Tooley P.C. 1401
                 Lawrence Street, Suite 1800, Denver, CO 80202, for Colorado Cattlemen's Association

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                           CLERK OF COURT

            12/15/2023                                                            s/ J. Roberts
Date:
                                                                                      Signature of Clerk or Deputy Clerk
        Case No. 1:23-cv-03258-RMR Document 30 filed 12/15/23 USDC Colorado pg 6 of 12




Civil Action No. 23-cv-3258

                                                  PROOF OF SERVICE
                  (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

         This summons for (name of individual and title, if any)
was received by me on (date)                                       .

         ‫ ٲ‬I personally served the summons on the individual at (place)
                                                                      on (date)                               ; or

         ‫ ٲ‬I left the summons at the individual’s residence or usual place of abode with (name)
                                                       , a person of suitable age and discretion who resides there,
         on (date)                          , and mailed a copy to the individual’s last known address; or

         ‫ ٲ‬I served the summons on (name of individual)                                                                , who is
          designated by law to accept service of process on behalf of (name of organization)
                                                                          on (date)                           ; or

         ‫ ٲ‬I returned the summons unexecuted because                                                                        ; or

         ‫ ٲ‬Other (specify):
                                                                                                                                       .


         My fees are $                      for travel and $                 for services, for a total of $          0.00          .



         I declare under penalty of perjury that this information is true.


Date:
                                                                                      Server’s signature



                                                                                  Printed name and title




                                                                                      Server’s address

Additional information regarding attempted service, etc:
        Case No. 1:23-cv-03258-RMR Document 30 filed 12/15/23 USDC Colorado pg 7 of 12




                                 UNITED STATES DISTRICT COURT
                                                               for the
                                                    District
                                              __________     of Colorado
                                                         District of __________

Gunnison County Stockgrowers' Association, Inc., a               )
   Colorado Nonprofit Corporation; and                           )
Colorado Cattlemen's Association, a Colorado Nonprofit           )
   Corporation.                                                  )
                                                                 )
                        Plaintiff(s)                                     Civil Action No. 23-cv-3258-RMR
                            v.                                   )
                                                                 )
United States Fish and Wildlife Service;                         )
Martha Williams, in her official capacity as Director of         )
    the U.S. Fish and Wildlife Service;                          )
Colorado Division of Parks and Wildlife;
Jeff Davis, in his official capacity as Director of Colorado
                                                                 )
    Parks and Wildlife;                                          )
Eric Odell, in his official capacity as Wolf Conservation        )
    Program Manager for Colorado Division of Parks and           )
    Wildlife; and                                                )
Colorado Parks and Wildlife Commission                           )
                        Defendant(s)                             )


                                              SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                 Jeff Davis, in his official capacity as Director of Colorado Parks and Wildlife;
                 6060 Broadway, Denver, CO 80216
         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name
and address are:
                 Deborah L. Freeman, Michael A. Kopp, Luke O'Brien, Trout Raley P.C., 1120 Lincoln St.,
                 Suite 1600, Denver, CO 80203, for Gunnison County Stockgrowers' Association

                 James W. Sanderson, Anthony M. Roeber, Welborn Sullivan Meck & Tooley P.C. 1401
                 Lawrence Street, Suite 1800, Denver, CO 80202, for Colorado Cattlemen's Association

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                           CLERK OF COURT

            12/15/2023                                                           s/ J. Roberts
Date:
                                                                                      Signature of Clerk or Deputy Clerk
        Case No. 1:23-cv-03258-RMR Document 30 filed 12/15/23 USDC Colorado pg 8 of 12




Civil Action No. 23-cv-3258

                                                  PROOF OF SERVICE
                  (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

         This summons for (name of individual and title, if any)
was received by me on (date)                                       .

         ‫ ٲ‬I personally served the summons on the individual at (place)
                                                                      on (date)                               ; or

         ‫ ٲ‬I left the summons at the individual’s residence or usual place of abode with (name)
                                                       , a person of suitable age and discretion who resides there,
         on (date)                          , and mailed a copy to the individual’s last known address; or

         ‫ ٲ‬I served the summons on (name of individual)                                                                , who is
          designated by law to accept service of process on behalf of (name of organization)
                                                                          on (date)                           ; or

         ‫ ٲ‬I returned the summons unexecuted because                                                                        ; or

         ‫ ٲ‬Other (specify):
                                                                                                                                       .


         My fees are $                      for travel and $                 for services, for a total of $          0.00          .



         I declare under penalty of perjury that this information is true.


Date:
                                                                                      Server’s signature



                                                                                  Printed name and title




                                                                                      Server’s address

Additional information regarding attempted service, etc:
        Case No. 1:23-cv-03258-RMR Document 30 filed 12/15/23 USDC Colorado pg 9 of 12




                                 UNITED STATES DISTRICT COURT
                                                               for the
                                                    District
                                              __________     of Colorado
                                                         District of __________

Gunnison County Stockgrowers' Association, Inc., a               )
   Colorado Nonprofit Corporation; and                           )
Colorado Cattlemen's Association, a Colorado Nonprofit           )
   Corporation.                                                  )
                                                                 )
                        Plaintiff(s)                                     Civil Action No. 23-cv-3258-RMR
                            v.                                   )
                                                                 )
United States Fish and Wildlife Service;                         )
Martha Williams, in her official capacity as Director of         )
    the U.S. Fish and Wildlife Service;                          )
Colorado Division of Parks and Wildlife;
Jeff Davis, in his official capacity as Director of Colorado
                                                                 )
    Parks and Wildlife;                                          )
Eric Odell, in his official capacity as Wolf Conservation        )
    Program Manager for Colorado Division of Parks and           )
    Wildlife; and                                                )
Colorado Parks and Wildlife Commission                           )
                        Defendant(s)                             )


                                              SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                 Eric Odell, in his official capacity as Wolf Conservation Program Manager for Colorado Division
                 of Parks and Wildlife; 6060 Broadway, Denver, CO 80216
         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name
and address are:
                 Deborah L. Freeman, Michael A. Kopp, Luke O'Brien, Trout Raley P.C., 1120 Lincoln St.,
                 Suite 1600, Denver, CO 80203, for Gunnison County Stockgrowers' Association

                 James W. Sanderson, Anthony M. Roeber, Welborn Sullivan Meck & Tooley P.C. 1401
                 Lawrence Street, Suite 1800, Denver, CO 80202, for Colorado Cattlemen's Association

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                           CLERK OF COURT

           12/15/2023                                                              s/ J. Roberts
Date:
                                                                                     Signature of Clerk or Deputy Clerk
    Case No. 1:23-cv-03258-RMR Document 30 filed 12/15/23 USDC Colorado pg 10 of 12




Civil Action No. 23-cv-3258

                                                 PROOF OF SERVICE
                 (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

        This summons for (name of individual and title, if any)
was received by me on (date)                                      .

        ‫ ٲ‬I personally served the summons on the individual at (place)
                                                                     on (date)                               ; or

        ‫ ٲ‬I left the summons at the individual’s residence or usual place of abode with (name)
                                                      , a person of suitable age and discretion who resides there,
        on (date)                          , and mailed a copy to the individual’s last known address; or

        ‫ ٲ‬I served the summons on (name of individual)                                                                , who is
        designated by law to accept service of process on behalf of (name of organization)
                                                                         on (date)                           ; or

        ‫ ٲ‬I returned the summons unexecuted because                                                                        ; or

        ‫ ٲ‬Other (specify):
                                                                                                                                      .


        My fees are $                      for travel and $                 for services, for a total of $          0.00          .



        I declare under penalty of perjury that this information is true.


Date:
                                                                                     Server’s signature



                                                                                 Printed name and title




                                                                                     Server’s address

Additional information regarding attempted service, etc:
     Case No. 1:23-cv-03258-RMR Document 30 filed 12/15/23 USDC Colorado pg 11 of 12




                                 UNITED STATES DISTRICT COURT
                                                               for the
                                                    District
                                              __________     of Colorado
                                                         District of __________

Gunnison County Stockgrowers' Association, Inc., a               )
   Colorado Nonprofit Corporation; and                           )
Colorado Cattlemen's Association, a Colorado Nonprofit           )
   Corporation.                                                  )
                                                                 )
                        Plaintiff(s)                                     Civil Action No. 23-cv-3258-RMR
                            v.                                   )
                                                                 )
United States Fish and Wildlife Service;                         )
Martha Williams, in her official capacity as Director of         )
    the U.S. Fish and Wildlife Service;                          )
Colorado Division of Parks and Wildlife;
Jeff Davis, in his official capacity as Director of Colorado
                                                                 )
    Parks and Wildlife;                                          )
Eric Odell, in his official capacity as Wolf Conservation        )
    Program Manager for Colorado Division of Parks and           )
    Wildlife; and                                                )
Colorado Parks and Wildlife Commission                           )
                        Defendant(s)                             )


                                              SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                 Colorado Parks and Wildlife Commission
                 6060 Broadway, Denver, CO 80216
         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name
and address are:
                 Deborah L. Freeman, Michael A. Kopp, Luke O'Brien, Trout Raley P.C., 1120 Lincoln St.,
                 Suite 1600, Denver, CO 80203, for Gunnison County Stockgrowers' Association

                 James W. Sanderson, Anthony M. Roeber, Welborn Sullivan Meck & Tooley P.C. 1401
                 Lawrence Street, Suite 1800, Denver, CO 80202, for Colorado Cattlemen's Association

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                           CLERK OF COURT

           12/15/2023                                                             s/ J. Roberts
Date:
                                                                                    Signature of Clerk or Deputy Clerk
    Case No. 1:23-cv-03258-RMR Document 30 filed 12/15/23 USDC Colorado pg 12 of 12




Civil Action No. 23-cv-3258

                                                 PROOF OF SERVICE
                 (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

        This summons for (name of individual and title, if any)
was received by me on (date)                                      .

        ‫ ٲ‬I personally served the summons on the individual at (place)
                                                                     on (date)                               ; or

        ‫ ٲ‬I left the summons at the individual’s residence or usual place of abode with (name)
                                                      , a person of suitable age and discretion who resides there,
        on (date)                          , and mailed a copy to the individual’s last known address; or

        ‫ ٲ‬I served the summons on (name of individual)                                                                , who is
        designated by law to accept service of process on behalf of (name of organization)
                                                                         on (date)                           ; or

        ‫ ٲ‬I returned the summons unexecuted because                                                                        ; or

        ‫ ٲ‬Other (specify):
                                                                                                                                      .


        My fees are $                      for travel and $                 for services, for a total of $          0.00          .



        I declare under penalty of perjury that this information is true.


Date:
                                                                                     Server’s signature



                                                                                 Printed name and title




                                                                                     Server’s address

Additional information regarding attempted service, etc:
